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October 15, 2024                                                                                 Orrick, Herrington & Sutcliffe LLP
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Sent via ECF                                                                                     Suite 2000
                                                                                                 Boston, MA 02116
Hon. Ona T. Wang                                                                                 +1 617 880 1800
Daniel Patrick Moynihan                                                                          orrick.com
United States Courthouse
500 Pearl Street
New York, NY 10007-1312
                                                                                                 Sheryl Garko
RE:      The New York Times Co. v. Microsoft Corp., et al. No. 1:23-cv-11195
         Daily News, LP, et al. v. Microsoft Corp., et al., No. 1:24-cv-3285                     E sgarko@orrick.com
                                                                                                 D +1 617 880 1919
         Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-8292                            F +1 617 880 1801
         Alter et al. v. OpenAI Inc. et al., No. 1:23-cv-10211

Dear Judge Wang:

We write on behalf of Defendants Microsoft and OpenAI in the above-entitled actions to present the Court
with Defendants’ coordinated deposition protocol to be implemented across the (1) Consolidated News
Actions (New York Times and Daily News),1 (2) the New York Consolidated Class Action (Authors Guild
and Alter)2, and (3) a related consolidated class action pending in the Northern District of California,3 and
to ask the Court to enter Defendants’ proposed Order for Deposition Coordination.
As your Honor is aware, there are several matters pending against Defendants in the Southern District of
New York, which have either been consolidated or related on the docket, and which have substantially
overlapping claims and legal issues. Another case raising similar issues is pending in California against
OpenAI (but not Microsoft). A common issue across all cases pending in both jurisdictions is whether
training a Large Language Model (“LLM”) on copyrighted content is fair use. An additional issue of whether
Microsoft is responsible for OpenAI’s alleged infringement on secondary liability grounds also runs through
all of the SDNY matters. There are also distinct issues relevant only in the Consolidated News Actions, and
not in the Class cases, concerning the implementation of generative AI technology as part of a next-
generation search engine and whether outputs summarizing search information are independently an
infringement. Given the breadth of these issues, many of Defendants’ employees, and over 50 plaintiffs
(either individual or corporate witnesses) are likely deponents. In view of the overlapping common issues
and likely witnesses, Defendants seek a streamlined, coordinated deposition protocol to ensure that their
employees are not unnecessarily burdened by having to sit for multiple depositions, or for an excessive
number of hours, answering duplicative questions regarding the same topics or issues. As in any other
multi-party situation, counsel for Plaintiffs should reasonably be able to coordinate their questioning and
avoid unnecessary duplication in order to protect and preserve the parties’ time and resources.
Under the Federal Rules, both Plaintiffs and Defendants are entitled to only 10 depositions per side,
presumptively 7 hours each, for a total of 70 hours per side for each case. Fed. R. Civ. P. 30(a)(2)(A)(i),
(d)(1). The parties have all proposed to meter deposition time on an hours-basis rather than per-deposition
basis and to expand the baseline deposition limits. However, limitations to that expansion are necessary


1 The New York Times matter and the Daily News, et al. matter have been consolidated and are referred to herein as

“the Consolidated News Actions.” Defendants have moved to consolidate the Center for Investigative Reporting (No.
1:24-cv-4872) matter with other News Actions. Counsel for Center for Investigative Reporting has been included in
these communications but have opted not to participate in negotiations at this time.
2 The New York Consolidated Class Action cases consist of: Authors Guild et al. v. OpenAI Inc. et al., (No. 1:23-cv-

8292) and Alter et al. v. OpenAI Inc. et al., (No. 1:23-cv-10211).
3 The California Consolidated Class Action cases consist of: Tremblay, et al. v. OpenAI, Inc., et al., (No. 3:23-cv-03223);

Silverman, et al. v. OpenAI, Inc, et al., (No. 4:23-cv-03416); Chabon, et al. v. OpenAI, Inc, et al., (No. 4:23-cv-04625).
Microsoft is not a party to the California Consolidated Class Action cases.

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to promote efficiency and protect witnesses from undue burden. Despite numerous meet and confers, the
parties are at an impasse in several respects. Attached hereto as Exhibit 1 is a comparison chart showing
the parties' different proposals side-by-side, which Defendants provide to the Court to review in tandem
with this letter as it sets forth a more comprehensive description of each proposal. Additionally, Defendants’
proposed Order for Deposition Coordination is attached as Exhibit 2.
In short, the parties are at an impasse regarding several key aspects of coordination including the overall
scope of that coordination and whether witnesses should be compelled to sit for more than one deposition,
the amount of deposition time necessary per side, the amount of time individual witnesses should have to
sit for deposition (whether in their individual or 30(b)(6) capacity), and the logistics and length of 30(b)(6)
depositions.4 It is also important to note at the outset that the Plaintiffs have refused to provide a streamlined
proposal for coordination across all cases (i.e., the NY and CA Class cases and the Consolidated News
Actions) and instead have provided three convoluted and competing proposals, at least one of which
ignores the fact that the News Actions have been consolidated by this Court.5 Defendants, by contrast,
propose a single streamlined protocol that covers the NY and CA Class cases and the Consolidated News
Actions, and reasonably accommodates the additional discovery necessary to address the complex issues
in these cases. Plaintiffs’ proposals provide for no meaningful coordination, and are nothing more than an
expansion on the default Federal Rules with no concession on the overlapping issues and duplication.
Defendants’ proposal on each issue should be adopted.
(1) Scope of Coordination. Defendants propose that there be true coordination across all cases:
witnesses are deposed only once, depositions may be used across all cases in which the deponent’s
employer or former employer is a Party, and the parties on each side work together to schedule and take
depositions. In order to complete discovery in a reasonable time, and do so in an efficient manner given
the high degree of overlapping issues, it is imperative that there actually be coordination among the NY and
CA Class cases and the Consolidated News Actions on the overlapping issues. These cases will involve
largely the same witnesses, who will address many of the same topics. To complete the depositions in a
reasonable amount of time and to keep these cases moving forward, it is necessary that Defendants’
witnesses be deposed only once across all actions in which they are a party. This will greatly reduce
inefficiencies of the same witness being asked the same questions multiple times, and make it possible to
complete these depositions without Defendants putting up witnesses for the same testimony weeks or
months apart. To facilitate this, Defendants agree that testimony taken from its present or former employees
in any case in which the Defendant-employer is a party can be used in any other of the cases to which the
Defendant-employer is a party.
Plaintiffs’ proposal that witnesses be deposed more than once if they are sitting in their individual and
30(b)(6) capacity only adds inefficiency. There is no reason why a witness cannot sit once (across a set
number of hours or days) and be deposed on all issues. Indeed, this is standard practice in virtually every
case where a witness is deposed in both her 30(b)(1) and 30(b)(6) capacities. Asking otherwise only leads
to unnecessary burden on the Defendants who, as discussed below, are being more than reasonable in
expanding the number of hours of deposition testimony from their witnesses. Additionally, the introduction
of Plaintiffs’ so-called “Safety Valve Depositions”—a concept invented by the News Plaintiffs that appears
nowhere in the FRCP—should be rejected.6 Such a procedure would defeat the entire purpose of
coordinating depositions by allowing Plaintiffs to seek to re-depose witnesses that have already testified.
Adding in an express allowance for multiple depositions of the same witness ensures that these
proceedings will be bogged down, and discovery will take longer than necessary.
(2) Document Cross-Production. Plaintiffs inserted the issue of cross-production of documents but it

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  Plaintiffs have also inserted the issue of cross-production, which is inappropriate to include in the deposition protocol
and has been addressed separately.
5 Indeed, during the most recent meet and confer, the News Plaintiffs indicated their preferred proposal is 1A

(coordination among the News Cases). That proposal reflects zero coordination—and indeed attempts to negate many
of the efficiencies that the Court’s prior consolidation Order requires.
6 The News Plaintiffs propose “Safety-Valve Depositions” only in their proposal to coordinate amongst the New York

cases—a bizarre suggestion given that the same law firm, Susman Godfrey, represents Plaintiffs in both sets of actions.

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should not be addressed in the context of this deposition coordination proposal. Document production
issues are and should be discussed separately. Indeed, cross-production has already been agreed to, and
is occurring, across the Consolidated News Actions. However, as explained above, because there are
different, additional issues present in the Consolidated News Actions that are not in the Consolidated Class
Actions, certain materials requested in one matter are entirely irrelevant to the other and requiring
production on those additional issues in the Class cases will improperly expand the scope of the Class
cases without having any relevant allegations in the Complaint on which to do so. And the California court
previously rejected the California Plaintiffs’ motion for cross productions across the Class cases. See In re
OpenAI ChatGPT Litig., Case No. 23-cv-3223 (N.D. Cal.) Dkt. 140.
(3) Plaintiffs Side Allocated Hours. Defendants propose a cap on the hours of deposition testimony that
can be taken by Plaintiffs of the Defendants of 240-hours for Class Plaintiffs and 220-hours for News
Plaintiffs, with maximum hours that can be allocated to each Defendant, and inclusive of 50-hours of third-
party depositions. Defendants recognize that these cases involve complex technology and multiple legal
claims and therefore have increased the proposed limits beyond what would be allowed by the default
Federal Rules (10, 7-hour depositions per side). Defendants’ proposal is rational, but not so extreme that it
would make discovery impossible to complete in a timely manner and eviscerate the efficiencies to be
gained given the overlapping issues. Defendants have also included within those overall caps maximum
hours to be allotted to each Defendant: for the Class cases, because OpenAI is involved in both the New
York and California Class cases, Defendants have allocated 105 hours of OpenAI depositions, and because
Microsoft is only a defendant in the New York Class case, 85 hours of Microsoft. And, where OpenAI and
Microsoft are both defendants in the Consolidated News Cases, 85 hours is allocated for each Defendant
there. These overall hours allow for the equivalent of 27 7-hour depositions of OpenAI across all cases,
and 24 7-hour depositions of Microsoft across the New York Cases (Class and News).7 And—this is
important—because of the agreement to allow Plaintiffs to attend and participate in any deposition of a
Defendant who is a party to that case, Plaintiffs get the benefit of all of that deposition time. So, the increase
is not, for example, just to 85 hours from 70 hours for the Consolidated News Plaintiffs, it is an increase to
170 hours of witness testimony per Defendant that Plaintiffs will benefit from—more than double the
standard limits.8
Yet, inexplicably, that isn’t enough for Plaintiffs. In their proposals, Plaintiffs include an additional 60 hours
of deposition time in the Consolidated News Cases and 40 hours in the Consolidated Class cases.9 Despite
multiple requests during several meet and confers, Plaintiffs could provide no justification for these
additional hours, which would result in the equivalent of another 14 7-hour depositions beyond the
enormous number already being agreed to by Defendants. There must be a cap that is proportionate to
the needs of the case and can be accomplished in a manageable time period. Under Plaintiffs’ proposal
(280-hours allocated to each of the two Plaintiff groups, for up to 560 hours of Defendant deposition time)10,
if one 7-hour deposition occurred every day, it could take 80 days just to get through the depositions of
Defendants’ witnesses. Under Defendants’ proposal, Plaintiffs deposition time will still take 65 days, which
is already a tall task to complete.
Also, Plaintiffs’ proposal has no meaningful caps on hours of deposition for each Defendant. Class Plaintiffs

7 Microsoft is not a party to the CA Class cases, and thus the caps proposed are limited to Party depositions of Microsoft

witnesses only in the NY Class and NY News cases. There is no dispute about this.
8 For example, if a defense witness is deposed by the Class Plaintiffs for 6 hours and then deposed by the Consolidated

News Plaintiffs for an additional 2 hours, collectively the Plaintiffs will receive the benefit of 8 hours of testimony but will
only be charged 6 and 2 hours respectively toward their caps.
9 The Class case proposal Plaintiffs have put forward makes little sense. See Exhibit 1, Plaintiffs’ Proposal 1A and 2.

They propose the same 280 hours of deposition time of Defendants regardless of whether the California Class case is
included or not. This is an implicit admission that Plaintiffs do not see any differences between those two groups of
cases for deposition purposes, and thus it is even more perplexing that Plaintiffs have refused to submit a proposal that
would address all three groups of cases, as Defendants have.
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   While Plaintiffs’ proposals purport to include third-party deposition time, neither proposal contemplates a carve out
or minimum amount of third-party deposition time (only a maximum), which would effectively allow Plaintiffs to use the
entirety of this time on Defendants’ witnesses.

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have included no cap; News Plaintiffs’ cap would allow for 200 of the 280 deposition hours to be used on
taking depositions of any one Defendant. That is improper and would allow potentially hundreds of hours
from a single Defendant’s witnesses. Plaintiffs seemingly recognize the importance of this type of
meaningful limitation given that they have included per-Plaintiff caps in their proposals, but have made no
effort to curtail their inquiry of the Defendants in a reasonable or rational way.
Finally, Defendants note that all parties agree that whatever time cap is imposed should include 30(b)(6)
deposition time and third-party deposition time. The Court should enter the caps in that manner.
(4) Defendant Side Allocated Hours. Defendants propose a cap on the hours Defendants may take of
300 hours for the Class Plaintiffs and 250 hours for the News Plaintiffs, both inclusive of 50 hours for third-
party deposition testimony. For similar reasons to the above, Defendants have endeavored to offer caps
across all cases, and do so in relation to the discovery actually needed. In contrast, the Class Plaintiffs’
proposed cap of 250 hours does not include third-party depositions and third-party deposition hours are
specified nowhere in their proposal for Defendants. With the additional 50 hours proposed by Defendants
for third-party depositions, the parties are seemingly in agreement on 300 hours total for Defendant side
allocated hours; however, Class Plaintiffs have indicated they will not agree to that increase, unless the
hours for depositions of the Class Plaintiffs and Defendants are the same. This again ignores the
reasonableness of Defendants proposal: Class Plaintiffs will already have the benefit of more than 300
hours of deposition time from Defendants (360 hours total) as they will be allowed to attend the portions of
the depositions taken by other Plaintiffs without that counting against their deposition time. No additional
time is necessary for “parity”; Defendants are already giving much more.
It appears that through the meet and confer process, Defendants and the News Plaintiffs are now in
agreement on a 250-hour cap on deposition time taken of the News Plaintiffs by Defendants (with 50 hours
allocated to third-party depositions). The only disagreement that remains is the cap on depositions time for
each Plaintiff group (NYT and NYDN). Defendants propose no more than 110 hours per group; News
Plaintiffs propose 100. Defendants propose a slightly higher than equal split for a maximum number of
deposition hours from any one Defendant given the number of entities involved in the New York Daily News
consolidated case (8 different newspapers) versus New York Times (1), and Defendants may need to adjust
their time accordingly. Given the delta, Defendants intend to continue to meet and confer to try to resolve
this issue.
(5) Per-Witness Time Limits. Defendants propose that there should be caps on the amount of time each
individual witness may sit for deposition: a maximum of 7 hours for apex witnesses, 8 hours for all other
30(b)(1) witnesses, and 12 hours for witnesses sitting in both a 30(b)(1) and 30(b)(6) capacity.11 First,
Defendants proposal includes a limit of 7 hours for apex witnesses, several of whom Plaintiffs have already
indicated they would like to depose and are very senior individuals at the Defendants. As the Court is
aware, apex witness testimony is often limited to less than 7 hours, thus the 7-hour cap proposed is
reasonable. Second, Defendants propose 8 hours for individual witnesses to account for the large overlap
but small additional delta between information needed by the different Plaintiffs in the various matters. It is
important to note that 7 hours of on the record testimony typically results in a 10-hour deposition day, given
breaks. Extending this by one hour would still allow for an individual 30(b)(1) deposition to be completed
in a single day, but also provide additional time to account for the separate Plaintiffs’ divergent lines of
questioning. Extending beyond that would necessarily mean each deposition would last more than a single
day—which will over-burden the Parties and their witnesses in an already demanding schedule. Third,
Defendants propose 12 hours of deposition time for witnesses appearing in both 30(b)(1) and 30(b)(6)
capacities. Plaintiffs’ proposals fail to address this issue. Given the overlapping issues, and the fact that
the individuals designated on 30(b)(6) topics will likely be so designated given their personal knowledge of
the relevant topics, an increased, but not unlimited, time allotment is the proper course.
Plaintiffs have, through the meet and confer process, made clear that 30(b)(6) and 30(b)(1) testimony
should be taken sequentially and not concurrently. If that is the case, then the sequencing of these
depositions is important so as not to abuse the 30(b)(6) process. As Defendants propose, 30(b)(6)

11 All Parties agree that non-parties, including former employees, are subject to the standard 7-hour time limit.



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depositions should occur first so that the party taking the deposition does not improperly extend its 30(b)(6)
time by asking foundational questions during the 30(b)(1) deposition only to then follow-up or duplicate
testimony during a follow-on 30(b)(6) period.
Plaintiffs’ proposals fail to account for the overlapping nature of the witness testimony that will be sought
and the burden on the individual witnesses. As to Plaintiffs’ proposal of 14 hours for individual depositions
in the NY Class and News cases—that is not a compromise. That is the maximum hours that the rules
would permit for completely independent depositions in those cases by the NY Class and News case
Plaintiffs. It fails to account for the overlapping nature of the testimony sought. Similarly, the Consolidated
News Plaintiffs seem to forget—as is reflected in their proposal here and elsewhere—that those cases have
been formally consolidated. Therefore, the request for 10 hours of individual testimony if a witness is
noticed only in the Consolidated News Action is a significant upward departure from the rules without
justification; in consolidated cases, the default limit is a single 7-hour deposition per witness.
(6) Rule 30(b)(6) Notices. Defendants propose they will be limited to serving one consolidated 30(b)(6)
notice on each Plaintiff entity. Plaintiffs are in agreement with this. Defendants similarly propose that Class
Plaintiffs be limited to serving one consolidated 30(b)(6) and the News Plaintiffs be limited to one
consolidated 30(b)(6) notice on each of the Defendants. Plaintiffs do not agree to Defendants’ limitation,
but want both a “merits” 30(b)(6) deposition of each Defendant,12 as well as a “custodial” 30(b)(6) deposition
for each Defendant. Plaintiffs’ definition of “custodial”13 is exceedingly vague and broad. It is not clear
where the line between “merits” and “custodial topics” lies, and the topics set forth implicate potential work
product protection concerns. Plaintiffs’ request for successive 30(b)(6) notices opens the door to exactly
what a coordination protocol is meant to protect against—duplication and unnecessary burden. Additionally,
to the extent this is meant to propose discovery on discovery, that is improper absent evidence of
wrongdoing—of which there is none. See Authors Guild, 1:23-cv-08292, ECF No. 212 at 4-5.
(7) Rule 30(b)(6) Time. Defendants have proposed an hours’ cap for 30(b)(6) depositions that would allow
for 21 hours—or three 7-hour days—of testimony from the Party receiving a 30(b)(6) notice who designates
multiple corporate representatives across all topics. As the Federal Rules anticipate only a single 7-hour
deposition, and given the overlapping issues here, that Plaintiffs will be the beneficiaries of 42 hours of
30(b)(6) deposition testimony from each Defendant across the coordinated cases is more than sufficient.
Instead of agreeing to any reasonable limit on 30(b)(6) time, Class Plaintiffs propose a floor—a “minimum”
of 20 hours in the event two or fewer witnesses are called to testify as 30(b)(6) witnesses. It is unclear
what cap, if any, would apply to 30(b)(6) testimony under Class Plaintiffs’ proposal, particularly since
Plaintiffs have not included any caps for deposition time for a witnesses sitting in a 30(b)(6) capacity. And
while News Plaintiffs proposed a cap of 30 hours on 30(b)(6) testimony, in line with the structure proposed
by Defendants, Defendants believe 30 hours (60 hours across the Class and News Cases) goes too far.
For each Defendant, that is the equivalent of more than 4 times the default rules. Defendants’ proposed
cap on 30(b)(6) deposition time is necessary to ensure that these depositions are properly streamlined and
tailored to the issues that matter in these cases, and to avoid unnecessary burden on its corporate
witnesses.
(8) Expert Depositions. The parties agree that expert depositions are not included in the caps proposed
by any party, and that given the number of issues here, and the uncertainty about which experts will offer
reports and in which cases, a proposed protocol for expert depositions will be deferred to a time when the
parties have more information.
For all of these reasons, Defendants respectfully request that the Court enter their proposed Order.
/s/ Sheryl Garko
Sheryl Koval Garko

12 News Plaintiffs have also proposed–without explanation–a second “merits” 30(b)(6) deposition of OpenAI.
13 Per Plaintiffs: “‘Custodial topics’ include the storage and retention of information, employee use of software,
programs, or tools, the structure of the relationship between Defendants, the organizational structure of Defendants,
and other topics not directly related to the merits of the case that may reasonably inform or cabin subsequent discovery.”

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